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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


SWITCH, LTD.,

                Plaintiff,

                    v.                   Civil Action No.: 2:17-cv-00574-JRG

ALIGNED DATA CENTERS LLC and                 JURY TRIAL DEMANDED
MTECHNOLOGY INC.,

                Defendants.




                      MTECHNOLOGY’S MOTION TO DISMISS
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    I.      INTRODUCTION

         Defendant MTechnology, Inc. (“MTechnology”) respectfully moves the Court to dismiss

Plaintiff Switch, Ltd.’s (“Switch”) patent infringement complaint with respect to MTechnology,

for improper venue pursuant to Rule 12(b)(3) of the Federal Rules of Civil Procedure.

MTechnology is not incorporated in Texas, and has no physical place in the Eastern District of

Texas from which it regularly conducts business, and so venue is improper here.

         MTechnology is a very small consulting company based in Saxonville, Massachusetts.

Its President is Stephen Fairfax, a consultant who consults to many companies around the

country and on many different projects. To the extent that Mr. Fairfax consulted to defendant

Aligned Data Centers LLC (“Aligned”), as alleged in Switch’s complaint, it was just one of Mr.

Fairfax’s consulting projects over the years and around the country.           This lawsuit against

MTechnology is not because it or Mr. Fairfax has any liability here; it is merely to punish

MTechnology (and Mr. Fairfax) for working with Switch’s competitor, Aligned.                        If

MTechnology is dismissed, the dismissal will have no impact on Switch’s case against Aligned.

         The Supreme Court in TC Heartland L.L.C. v. Kraft Foods Group Brands L.L.C., 137 S.

Ct. 1514 (2017), set forth that venue for patent infringement actions is to be governed by 28

U.S.C. § 1400(b) and is proper only in a district where: (1) the defendant is incorporated; or (2)

the defendant has a “regular and established place of business.”            Here, MTechnology is

incorporated in Massachusetts, and not in Texas. Therefore, the venue issue hinges on whether

MTechnology has a “regular and established place of business” in this district.

         Last week, the Federal Circuit in In Re: Cray, set forth an exacting test for district courts

to apply when determining whether a corporation has a “regular and established place of

business” in a district:



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            (1) there must be a physical place in the district; (2) it must be a regular and
            established place of business; and (3) it must be the place of the defendant. If any
            statutory requirement is not satisfied, venue is improper under § 1400(b).

In Re: Cray, Inc., Case No. 2017-129, Slip. Op. at 8 (Fed. Cir. Sept 21, 2017) (attached as Ex.

A).

            MTechnology does not have a physical place of business in the Eastern District of Texas.

Indeed, MTechnology does not own, lease or rent any physical property, any building, or any

quarters, in the Eastern District of Texas.

            Switch’s allegations in the complaint do not assert otherwise. Switch’s venue allegations

are limited to assertions that MTechnology does business with a third-party’s facility in Plano,

Texas. There is no allegation that MTechnology does or conducts regular business from a

physical place in Texas that it controls or operates, as is required to satisfy the “regular and

established place of business” prong of § 1400(b). The Court should dismiss the complaint with

respect to MTechnology for improper venue.

            In the alternative, and solely to preserve its defense, MTechnology moves the Court to

dismiss the complaint under Rule 12(b)(6), including Count Three (“Indirect Infringement by

MTechnology”), for the reasons as argued by Aligned in its motion to dismiss and related

briefing. (Doc. No. 8.) The allegations against MTechnology are derivative of those against

Aligned. If the Court grants Aligned’s motion, then there is no direct infringement, and no claim

of indirect infringement can stand against MTechnology.

      II.      RULE 12(B)(3) MOTION TO DISMISS STANDARDS

            Rule 12(b)(3) and 28 U.S.C. § 1406(a) both allow dismissal when venue is “wrong” or

“improper” based on the applicable federal venue rules. Atl. Marine Const. Co. v. U.S. Dist.

Court for W. Dist. of Texas, 134 S. Ct. 568, 577 (2013). Under Rule 12(b)(3), when a defendant



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objects to venue, “the burden of sustaining venue lies with the plaintiff.” Langton v. Cbeyond

Commc’n, L.L.C., 282 F. Supp. 2d 504, 508 (E. D. Tex. 2003).

       “[O]nce a defendant has objected to venue, the burden shifts to the plaintiff to establish

that venue is proper as to each defendant and each claim.” LuciBags L.L.C. v. Younique, L.L.C.,

No. 4:16-cv-377, 2017 WL 77943, at *3 (E. D. Tex. Jan. 9, 2017). In deciding Rule 12(b)(3)

motions, “[t]he Court accepts as true all of the allegations in the plaintiff’s complaint and

resolves all factual conflicts in the plaintiff’s favor.” Luci Bags, 2017 WL 77943, at *3. For

Rule 12(b)(3), the Court may consider additional evidence in the record beyond “the complaint

and its proper attachments.” Id. (citing Ginter ex. rel. Ballard v. Belecher, Prendergast &

Laporte, 536 F.3d 439, 449 (5th Cir. 2008)).

       Switch filed its complaint on August 7, 2017, after the Supreme Court’s May 22, 2017

opinion in TC Heartland L.L.C. v. Kraft Foods Group Brands L.L.C., 137 S. Ct. 1514 (2017). In

TC Heartland, the Supreme Court reversed the Federal Circuit, holding that 28 U.S.C. § 1400(b)

is “the sole and exclusive provision controlling venue in patent infringement actions.” Fourco

Glass Co. v. Transmirra Prod. Corp., 353 U.S. 222, 229 (1957); see also TC Heartland, 137 S.

Ct. at 1520-21. In reversing the Federal Circuit, the Supreme Court held that the general venue

statute, 28 U.S.C. § 1391, has no impact on the § 1400(b) analysis, as the Federal Circuit had

previously determined and required lower courts to follow. Id.

       Under § 1400(b), venue is appropriate “where the defendant resides, or where the

defendant has committed acts of infringement and has a regular and established place of

business.” 28 U.S.C. § 1400(b).       A domestic corporation resides “only in its State of

incorporation for purposes of the patent venue statute.” TC Heartland, 137 S. Ct. at 1517. When

assessing whether a defendant “has a regular and established place of business” in a district, the



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Federal Circuit found that a determining factor is whether the defendant has a physical place in

the district from where it conducts a regular and established business:

          As discussed in greater detail below our analysis of the case law and statute reveal
          three general requirements relevant to the inquiry: (1) there must be a physical
          place in the district; (2) it must be a regular and established place of business; and
          (3) it must be the place of the defendant. If any statutory requirement is not
          satisfied, venue is improper under § 1400(b).

In Re: Cray, Inc., Case No. 2017-129, Slip. Op. at 8 (Fed. Cir. Sept 21, 2017).

   III.      THE COURT SHOULD DISMISS THE COMPLAINT UNDER RULE 12(B)(3)

          Switch’s complaint against MTechnology should be dismissed for improper venue. First,

under § 1400(b), MTechnology is not incorporated in Texas and therefore is not a resident of

Texas. (Ex. B, Fairfax Decl. ¶ 5.) As Switch’s complaint concedes, “MTechnology Inc. is a

Massachusetts corporation organized and existing under the laws of the State of Massachusetts . .

. with a principal place of business . . . [at] Saxonville, Massachusetts.” (Doc. No. 1, ¶ 10; see

also Ex. B, ¶¶ 3-4. )

          Second, MTechnology does not have a “regular and established place of business” in the

Eastern District of Texas because it has no physical place in the district from where it regularly

carries out or conducts its business. (Ex. B, Fairfax Decl. ¶ 7.) In crafting its exacting test on the

meaning of “regular and established place of business” in § 1400(b), the Federal Circuit noted

that in the first step there must be a “place” that is “a physical, geographical location in the

district from which the business of the defendant is carried out.” In Re: Cray, at 11. “The statute

requires a place i.e. a building or a part of a building set apart for any purpose or quarters of any

kind from which business is conducted.” Id. at 11 (internal quotations omitted).

          Furthermore, the physical place must be “a ‘place of business’ that is ‘regular’ and

‘established.’” Id. at 10. Notably, the term “regular” precludes “sporadic activity” that is



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“merely temporarily, or for some special work or particular transaction” and the word

“established” requires that the physical place is “permanent” for example, “a five year

continuous presence.” Id. at 12

       Importantly, the physical place “must be a place of the defendant” and “[r]elevant

considerations include whether the defendant owns or leases the place, or exercises other

attributes of possession or control over the place.” Id. at 13 (emphasis added).

       Under the test set forth by In Re Cray, MTechnology has no “regular and established

place of business” in Texas or in the Eastern District of Texas. For one, as established by the

Declaration of Stephen Fairfax filed herewith, “MTechnology does not own, lease, or rent any

physical property, any building, any part of a building, or any quarters, in Texas or in the Eastern

District of Texas.” (Ex. B, Fairfax Decl., ¶ 8.) Moreover, MTechnology, “does not possess or

control a physical place in Texas, or in the Eastern District of Texas, from which it regularly

carries out or conducts business.” (Ex. B, Fairfax Decl. ¶ 7.)

       Switch does not dispute this. Switch’s venue allegations in the complaint make no

assertion that MTechnology has a physical location in Texas from which it conducts business of

any kind.   (Doc. No. 1, ¶14.) Other than a conclusory statement parroting the words of the

statute that, “MTechnology has a regular and established place of business in the district,” the

entirety of Switch’s venue allegations against MTechnology appears to be based on an assertion

that MTechnology has done business with defendant Aligned, at a facility in Plano, Texas that is

owned and controlled by Aligned.

       Switch alleges that MTechnology, through its President, Stephen Fairfax, was present at

Aligned’s facility in Plano, Texas, during a design process and during the construction of a data

center. (Doc. No. 1, ¶14.) Switch also alleges that MTechnology has performed reliability



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studies and performed checks at the same Aligned facility in Plano. Switch further alleges that

MTechnology “markets” Aligned’s Plano facility, is likely to have a contractual relationship

with Aligned, and benefits from its work with Aligned and Aligned’s Plano facility.

         Even assuming for argument that all of these allegations are true, none of these

allegations establish that MTechnology has a physical place of business in the district that meets

§ 1400(b)’s requirements. While Aligned’s Plano facility is in the district, there is no allegation

that MTechnology owns or controls any part of this physical location, or that it conducts regular

business from such a location. Rather, Switch’s allegations appear to be that MTechnology

performed sporadic consulting work for Aligned, at a facility in the district owned by Aligned –

and not by MTechnology.

         This is not enough to meet the test set forth by In Re Cray, as the physical location “must

be the place of [MTechnology]” and relevant considerations include whether “MTechnology

owns or leases the place, or exercises other attributes of possession or control over the place.”

There is no such allegation here, and the Fairfax Declaration evidences the opposite:

MTechnology does not rent, lease, own, control or possess any such place in the Eastern District

of Texas. (Fairfax Decl. ¶ 7.)

   IV.      IN THE ALTERNATIVE, THE COURT                           SHOULD       DISMISS      THE
            COMPLAINT UNDER RULE 12(B)(6)

         Should the Court decline to dismiss the complaint under Rule 12(b)(3), MTechnology

hereby moves in the alternative for a dismissal of the allegations against it under Rule 12(b)(6),

for the same reasons as argued in Aligned’s motion to dismiss (Doc. No. 8). In particular,

Switch’s allegations of indirect infringement by MTechnology (Doc No. 1, ¶¶75 – 87) does not

plausibly state a claim for relief, for the same reasons as discussed in Aligned’s motion with

respect to the direct and indirect infringement claims Switch made against Aligned.


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   V.       CONCLUSION

        For at least the above reasons, the Court should dismiss the complaint as related to

MTechnology for improper venue under Rule 12(b)(3). In the alternative, the Court should

dismiss the complaint as related to MTechnology for failure to state a claim for relief under Rule

12(b)(6).



Dated: September 29, 2017                      Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have

consented to electronic services are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) on this the 29th day of September, 2017.

                                                  /s/ Safraz W. Ishmael
                                                  Safraz W. Ishmael




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